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                                                  UNITED STATES DISTRICT COURT
                                                        DISTRICT OF MAINE
      CASE NAME: USA v. Alexis Boyd

      DOCKET NO: 2:19-cr-175-NT

      PROCEEDING TYPE: Suppression Hearing

                                                               Exhibit List
Gvt   Dft     Court
                                                                                                   Date        Date             Date
Exh   Exh      Exh                                      Description                                                      Obj
                                                                                                 Mentioned    Offered          Admitted
No.   No.      No.
 1                                          USB Video of Traffic Stop on 6/26/19                 10/27/21     10/27/21         10/27/21
 2                                       MSP Summary of Interview Report 6/27/19                 10/27/21     10/27/21         10/27/21
 3                                       MSP Summary of Interview Report 6/27/19                 10/27/21     10/27/21         10/27/21

 4                                           MSP Continuation Report 6/26/19                     10/27/21     10/27/21         10/27/21
 5                                           MSP Continuation Report 6/26/19                     10/27/21     10/27/21         10/27/21
 6                                           MSP Continuation Report 6/26/19                     10/27/21     10/27/21         10/27/21

 7                                             Printout of BMV Query 6/26/19                     10/27/21     10/27/21         10/27/21
 8                                         ME Turnpike Authority Report 6/26/19                  10/27/21     10/27/21         10/27/21

        1                         Redacted Transcript Internal Investigation Report 4/13/21      10/27/21     10/2721          10/27/21
